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15                                  UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
16                                     SAN FRANCISCO DIVISION
17 AMERICAN FEDERATION OF            )
   GOVERNMENT EMPLOYEES, et al.      )                        Case No. 3:25-cv-1780-WHA
18                                   )
         Plaintiffs,                 )                        ADMINISTRATIVE MOTION TO FILE
19                                   )                        AGENCY LISTS OF EMPLOYEES UNDER
                 v.                  )                        SEAL
20                                   )
   UNITED STATES OFFICE OF PERSONNEL )                        Honorable William H. Alsup
21 MANAGEMENT, et al.,               )
                                     )
22      Defendants.                  )
                                     )
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     Defendants’ Admin. Mot. to File Agency Lists of Employees Under Seal
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 1           Pursuant to Civil Local Rule 7-11 and 79-5(c), Defendants move to file under seal unredacted

 2 copies of federal-employee information in support of their Response to Plaintiffs’ Motion to Compel

 3 Compliance with Preliminary Injunction or to Hold Defendants in Contempt. Previously, this Court

 4 ordered Defendants to “submit a list of all probationary employees terminated on or about February 13th

 5 and 14th with an explanation as to each of what has been done to comply with this order.” Tr. of March

 6 13, 2025, Hrg. at 53:13-16, 20-22, ECF No. 120. Defendants then submitted this information but filed it

 7 under seal because it contained the personal identifying information (“PII”) of federal employees that

 8 should remain confidential and filed redacted copies on the public docket. See Admin. Mot to File

 9 Agency Lists of Employees Under Seal, ECF No. 143; Not. of Filing Certain Agency Declarations &

10 Redacted Lists of Agency Emps., ECF No. 144. Those filings demonstrated the steps that each agency

11 had undertaken to immediately comply with the Court’s orders, including lists of probationary

12 employees and documenting what had been done to offer reinstatement to those employees. As part of

13 Defendants’ Response to Plaintiffs’ Motion to Compel Compliance with Preliminary Injunction or to

14 Hold Defendants in Contempt, Defendants seek to file similar lists on behalf of the Departments of

15 Defense, the Interior, and Veterans Affairs that demonstrate steps taken by the agencies to comply with

16 the Court’s orders. As with their prior submission of employee lists, Defendants seek to seal the

17 unredacted lists while submitting the redacted lists on the public docket.

18           Because the information Defendants seek to seal is not being submitted in support of any

19 argument for relief on the merits, but rather to update the Court on actions taken by Defendants

20 following issuance of the preliminary injunction, the “good cause” standard applies. See Ctr. for Auto

21 Safety v. Chrysler Group, LLC, 809 F.3d 1092, 1097 (9th Cir. 2016) (internal citations omitted). Even

22 under the more stringent “compelling reasons” standard for sealing some information, courts in this

23 District routinely order the sealing of third-party PII. See, e.g., Opperman v. Path, Inc., No. 13-cv-453,

24 2017 WL 1036652, at *4 (N.D. Cal. Mar. 17, 2017) (exhibit containing “the names, email addresses, and

25 phone numbers of non-part[ies]” provided “compelling reasons to seal [it] in its entirety”).

26           In this case, there is both good cause and a compelling reason to protect federal employee PII

27 from public disclosure here. First, absent an applicable exemption, the Privacy Act protects such

28 information from disclosure. See 5 U.S.C. § 522a(b). Second, the federal employees identified in the

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 1 documents are not parties to this litigation and have their own privacy interests; therefore there is no

 2 need for public disclosure of their identities or their PII at this point in the proceedings. See Foltz v.

 3 State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1137 (9th Cir. 2003) (recognizing the need to “protect

 4 third-party privacy interests” in “personnel records”). If sealing were denied, the names and PII of third-

 5 party employees will be exposed to public attention in this high-profile litigation. And because the

 6 Court’s order specifically requires the submission of employee PII, see Tr. of March 13, 2025, Hrg. at

 7 53:13-16, 20-22, no less-restrictive alternative (such as redacting that information) is sufficient here.

 8                                                    CONCLUSION

 9           Defendants respectfully request this Court grant this Motion and permit unredacted copies of the

10 following documents to be filed under seal:

11       1. Ex. 1: U.S. Department of Defense’s List of Employees

12       2. Ex. 2: U.S. Department of Veterans Affairs’ List of Employees

13       3. Ex. 3: U.S. Department of the Interior’s List of Employees

14 DATED: March 31, 2025                               Respectfully submitted,

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